             Case 2:09-cr-00222-TLN Document 196 Filed 07/10/13 Page 1 of 4


1    BENJAMIN B. WAGNER
     United States Attorney
2    TODD D. LERAS
     Assistant U.S. Attorney
3    501 I Street, Ste 10-100
     Sacramento, CA 95814
4    Telephone (916) 554-2918
5
6
7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA        ) CR. NO. 2:09-cr-0222 TLN
                                     )
12                  Plaintiff,       )
               v.                    ) STIPULATION AND ORDER
13                                   ) CONTINUING STATUS CONFERENCE
                                     )
14   KHAMLE KEOVILAY,                )
     DAVID PAKHO CHENG,
     MINH YAT THAM,                  )
15   DUNG NGUYEN,                    )
     SANG HIN SAELEE,
     LONG HOANG NGUYEN, and          )
16   TUAN DAO,                       )
                                     )
17                  Defendants.      )
18   _______________________________ )

19
20          The United States of America, through Assistant United States

21   Attorney Todd D. Leras, and Attorney Dennis Waks on behalf of Khamle

22   Keovilay, Attorney Alice Wong on behalf of David Cheng, Attorney

23   Michael Bigelow on behalf of Minh Tham, Attorney Michael Long on

24   behalf of Dung Nguyen, Attorney Olaf Hedberg on behalf of Sang

25   Saelee, Attorney Christopher Wing on behalf of Long Nguyen, and

26   Attorney Ken Giffard on behalf of Tuan Dao, stipulate and agree to

27   set this matter for a Status Conference on August 15, 2013, at 9:30

28   a.m.

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             Case 2:09-cr-00222-TLN Document 196 Filed 07/10/13 Page 2 of 4


1         The government has previously provided Plea Agreements or made
2    settlement proposals to all defendants in the case.            All of the
3    proposed Plea Agreements or settlement proposals include estimations
4    of the potential sentencing guidelines applicable to each
5    defendants’ alleged relevant conduct in the charged conspiracy.
6    Based on the volume of intercepted telephone calls in the discovery
7    and the fact that some of the conversations include coded language,
8    defense counsel continue to review and investigate the government’s
9    assertions about the volume of controlled substances attributable to
10   their respective clients.       In some cases, defense counsel is sharing
11   information obtained as the result of defense investigation with the
12   government to request possible amendments or modifications to the
13   settlement proposals.
14        Defense counsels’ continued review of the proposals with their
15   clients and discussion of modifications with the government support
16   the request for continuance of the status conference.            The
17   additional time is therefore needed for attorney preparation and
18   continuity of counsel.      All parties request that time be excluded
19   pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) - Local Code T-4 (attorney
20   preparation and continuity of counsel).          The parties agree to an
21   exclusion of time for the reasons stated above for the period from
22   July 11, 2013 up to and including August 15, 2013.
23   / / /
24   / / /
25   / / /
26   / / /
27   / / /
28   / / /

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           Case 2:09-cr-00222-TLN Document 196 Filed 07/10/13 Page 3 of 4


1         Defense counsel have authorized Assistant U.S. Attorney Todd
2    Leras to sign this stipulation on their behalf.
3                                              Respectfully submitted,
4                                              BENJAMIN B. WAGNER
                                               United States Attorney
5
6    DATED: July 9, 2013                 By: /s/ Todd D. Leras
                                             TODD D. LERAS
7                                            Assistant U.S. Attorney
8
9    DATED: July 9, 2013                 By: /s/ Todd D. Leras for
                                             DENNIS WAKS
10                                           Attorney for Defendant
                                             KHAMLE KEOVILAY
11
     DATED: July 9, 2013                 By: /s/ Todd D. Leras for
12                                           ALICE WONG
                                             Attorney for Defendant
13                                           DAVID CHENG
     DATED: July 9, 2013                 By: /s/ Todd D. Leras for
14                                           MICHAEL BIGELOW
                                             Attorney for Defendant
15                                           MINH THAM
16
     DATED: July 9, 2013                 By: /s/ Todd D. Leras for
17                                           MICHAEL LONG
                                             Attorney for Defendant
18                                           DUNG NGUYEN
19
     DATED: July 9, 2013                 By: /s/ Todd D. Leras for
20                                           OLAF HEDBERG
                                             Attorney for Defendant
21                                           SANG SAELEE
22
     DATED: July 9, 2013                 By: /s/ Todd D. Leras for
23                                           CHRISTOPHER WING
                                             Attorney for Defendant
24                                           LONG NGUYEN
25
     DATED: July 9, 2013                 By: /s/ Todd D. Leras for
26                                           KEN GIFFARD
                                             Attorney for Defendant
27                                           TUAN DAO
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              Case 2:09-cr-00222-TLN Document 196 Filed 07/10/13 Page 4 of 4


1
2                                          ORDER
3         A status conference is set in this matter for August 15, 2013,
4    at 9:30 a.m.      Based on the representations of the parties, the Court
5    finds that the ends of justice served by granting the continuance
6    outweigh the best interest of the public and the defendants in a
7    speedy trial.      Time under the Speedy Trial Act shall be excluded
8    under 18 U.S.C. § 3161(h)(7)(B)(4) and Local Code T-4 up to and
9    including the period from July 11, 2013 to August 15, 2013.
10
11   DATED:       July 10, 2013
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15                                                 Troy L. Nunley
                                                   United States District Judge
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